 

 

U.S. Department of Justice PROCESS RECEIPT AND RETURN ~

United States Marshals Service See “Fnasiructions for Service of Process by lS Marshal”

 

 

PLAINTIFF COURT CASE NUMBER

Cristian Ramos 7c ®S 76
DEFENDANT TYPE OF PROCESS
S 9 t.Gee ES MWait bd sap

NAME OF INDIVIDUAL, COMPANY. CORPORATION ETC TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN

 

SERVE J) Sot.Gee

AT ADDRESS (Street or RED Aparnnent No.. City, State and ZIP Cadei

P.O.box WX dJolfet, 72 60434-0112

SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW Nunidbar araneess foe

nn oe a soso aenenneecal sonvee withithis Form 283 \
Cristian R amos Matheratectuenia
1103 N. 20th ave. served ts 3
Melrose PorK , ZL 60160 Check for warunce VV

omUSA

 

 

 

 

 

 

All Telephone Numbers, and Estimated Times Available for Service):

Fold Fold

ILLINOIS Depoxtment of Corrections
Stoteviite Correctional Center / Novtheen Reception Center
P.O. box a

Joltet,ZL GO434-ONQ —_7- 3pm Fivst shit Sat.

Signature of Attomey other Originator requesting service on behalf of Moi AINTIFE TELEPHONE NUMBER DATE

CIDEFENDANT = | 799~2ET-1181 2-/38-/8
SPACE BELOW FOR USE OF U.S. MARSHAL ONLY-- DO NOT WRITE BELOW THIS LINE

 

 

 

 

 

 

J acknowledge receipt for the total

| Total Process | Distnct of District to Signature of Authorized USMS Deputy or Clerk Date
number of process indicated

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. . “ to ¥ vs ° "
I hereby certify and return that | LJ have personally served JX have legal evidence of service, L_] have executed as shown in Remarks’. the process described
on the individual , company. corporation, ete.. at the address shown above on the on the individual company. corporation, etc. shown at the address inserted below

(Sign anly for USM 285 if more
than ane USM 283 is submuned)

 

 

 

 

 

ey * 7 “
Chi hereby certify and return that | am unable to locate the individual, company. corporation, etc named above (See remarks below)

‘Tia person of suitable age and discretion
[= ] | then residing in defendant's usual place

of abode

 

Name and ttle of individual served Af not shown above)

 

Address (complete only different than shown above} Date Time

man , Dan
SEP 14 2018%_ 413/16 [54 Boon

THOMAS G. BRUTON
CLERK, U.S. DISTRICT COURT

Service Fee | Total Mileage Charges Forwarding Fee | Total Charges Advance Deposits
(including endeavors) i

C500 | _ — | E5.00
| | Wriver ok —— Accepe/

PPh ER re Owtoes | CLERK OF THE COURT PRIOR EDITIONS MAY BE USED

2 USMS RECORD
3. NOTICE OF SERVICE
4. BILLING STATEMENT*: To be séetarned to the US. Marshal with payment, 3a: fo iG i ik
ifany amount is owed. Please remit promptly payable to US| Marshal Gi GM es oe Eee See “Form USM-285
5S. ACKNOWLEDGMENT OF RECEIPT Rev. 12/80

 

 

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